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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


   TIMOTHY KING, et al.,

                         Plaintiffs,                CIVIL ACTION

             v.                                     No. 2:20-cv-13134-LVP-RSW

   GRETCHEN WHITMER, in her official                Hon. Linda V. Parker
   capacity as Governor of the State of
   Michigan, et al.,

                         Defendants.




                                       APPEARANCE


         Notice is hereby given that Daniel M. Share of Barris, Sott, Denn & Driker, PLLC,

enters his appearance in this matter for Amicus Curiae Michigan State Conference

NAACP, for purposes of receiving papers filed with the Court, notices and orders from the

Court.

 Dated: December 4, 2020                       Respectfully submitted,


 BARRIS, SOTT, DENN & DRIKER,                  Kristen Clarke (pro hac vice pending)
 PLLC                                          Jon Greenbaum (pro hac vice pending)
                                               Ezra Rosenberg (pro hac vice pending)
 By: ___/s/ Daniel M. Share_______             Julie Houk (pro hac vice pending)
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                           CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2020, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will automatically send
notification of such filing to all attorneys of record registered for electronic filing.

                                                      __/s/ Daniel M. Share_______
